                                          United States Bankruptcy Court
                                            Northern District Of Ohio
                                           Notice of Filing Deficiency

    To: Paige Rabatin                                                    Case Number: 22−10571−skk

    Debtor(s): Matthew M. Motil                                          Judge: SUZANA KRSTEVSKI KOCH

The items marked below are deficient and must be corrected by 7/19/2024, or this matter may be referred to
the Judge for further consideration.

   Adversary filing incomplete. Need          Cover Page/Worksheet           Request for Summons       See Comments.

   Affidavit needs:       notary seal/stamp/commission expiration              signature     county/state

   Attachments/Exhibits:          not filed      incorrect or not relevant to filing

   Attorney name block is missing, or does not include attorney's full name, firm, address, telephone number, and
   attorney registration number.

   Case:       closed     dismissed        transferred

   Certificate of Service indicating name, address of parties served, and the date of service was not filed.

   Certificate of Service − Chapter 13 Plan: Debtor failed to comply with Bankruptcy Rule 3012(b) and Local
   General Order 17−1, providing the debtor must serve creditor in the manner provided for service of a summons
   and complaint under Bankruptcy Rule 7004, as well as provide a certificate of service "that includes the date
   and method of service and the identity by name and address of each entity served, consistent with Local
   Bankruptcy Rule 9013−3."

   Document:        case# incorrect       caption incorrect       Judge incorrect

   ECF event used is incorrect.        Resubmit the document using the correct code. See the ECF Search Menu.

   Employee income records and/or proof of no income received 60 days preceding case filing were not filed.

   Fee due in the amount of $          Fee deleted by the filer. Resubmit the pleading and pay the fee.

   Form B121 required.

   Hearing:      notice not filed       time, date, and/or location are incorrect

   Installment Application:         dates incorrect      fee incorrect      exceeds 120 day limit

   Official Form B423 must be filed, or the case may be closed without the discharge order.

   Order Regarding:

   Petition:     incorrect Official Form        missing document(s):

   Petition for Unclaimed Funds does not comply with LBR 3011−1. Please reference the LBR for guidelines.

           Proof of deposit is not attached to the petition (e.g., copy of receipt and attached list of parties
           entitled to funds; unclaimed funds search web page; or other supporting documents).



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           Exhibit A is not attached      Full Tax ID/Social Security Number is not attached to Exhibit A

           incorrect identification

    Signature Declaration missing.

    Signature must be:       original     /S/ signature for    attorney     debtor     creditor

    Other Deficient Matter(s): See Below

Comments/Instructions
Hearings are not to be scheduled. Please refile your notice with a proper response date.

Deputy Clerk: M. Rivers       Date: July 15, 2024

Form: ohnb140




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